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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                                  BILLINGS
YELLOWSTONE RENTAL                      )       Cause No.: 1:21-CV-00079-BLG-SPW
PROPERTIES, LLC,                        )
                                        )
       Plaintiff,                       )
vs.                                     )          NOTICE OF SETTLEMENT
                                        )
KRAFT LAKE INSURANCE                    )
AGENCY, INC.                            )
                                        )
       Defendant.                       )

       The remaining parties in this matter, Yellowstone Rental Properties, LLC

and Kraft Lake Insurance Agency, Inc., have settled. Dismissal documents will be

forthcoming in less than thirty days.


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 DATED this 6th day of February, 2024.

                              PARKER, HEITZ & COSGROVE, PLLC


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